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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
CHASE BANK USA., N.A.,

                                   Movant,                                19-mc-275-GHW

                 -against-                                                JUDGMENT
M. HARVEY REPHEN & ASSOCIATES, P.C.,

                                    Respondent.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated April 19, 2020, the Court finds that

the Rephen Firm and Mr. Rephen willfully failed to comply with the Court’s July 15, 2019 Order.

The Court orders the Rephen Firm and Mr. Rephen to pay Chase $231,441 in attorney’s fees and

costs; judgment is entered in favor of Chase in the amount of $231,441.



Dated: New York, New York
       April 20, 2020




                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
